     Case 4:20-cv-00366-SMR-HCA Document 31 Filed 05/06/21 Page 1 of 21




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA
                                  CENTRAL DIVISION


AKRUM WADLEY, JONATHAN PARKER,                   )   Case No. 4:20-cv-00366-SMR-HCA
MARCEL JOLY, AARON MENDS,                        )
MAURICE FLEMING, REGGIE                          )
SPEARMAN, KEVONTE                                )
MARTIN-MANLEY, DARIAN COOPER,                    )
LARON TAYLOR, BRANDON SIMON,                     )
JAVON FOY, ANDRE HARRIS, and                     )
TERRENCE HARRIS,                                 )
                                                 )   ORDER ON DEFENDANTS’ MOTION
       Plaintiffs,                               )   TO DISMISS
                                                 )
       v.                                        )
                                                 )
UNIVERSITY OF IOWA, BOARD OF                     )
REGENTS OF THE STATE OF IOWA,                    )
GARY BARTA, KIRK FERENTZ, BRIAN                  )
FERENTZ, CHRISTOPHER DOYLE, and                  )
RAIMOND BRAITHWAITE,                             )
                                                 )
                                                 )
       Defendants.                               )

       A group of African-American football players allege that during the time they participated

in the University of Iowa football program they endured racially-motived discrimination,

harassment, and bullying by members of the coaching staff—coaches charged with shaping their

growth both on and off the field. Their allegations are searing. They allege coaches directed vile

racial epithets at them. They allege they were criticized for their hairstyles, clothing, and

vernacular, often in front of their teammates. They allege rules were enforced against them and

other African-American players but were not enforced against their white teammates.

         Last summer, after the death of George Floyd at the hands of a Minneapolis police officer,

African-Americans all over the United States came forward to share difficult and painful accounts

of racism and discrimination they experienced in all areas of their lives. James Daniels, a former

                                                1
     Case 4:20-cv-00366-SMR-HCA Document 31 Filed 05/06/21 Page 2 of 21




University of Iowa football player, did the same. He tweeted “[t]here are too many racial

disparities in the Iowa football program Black players have been treated unfairly for far too long.”

[ECF No. 15 ¶ 3] (Plaintiffs’ Amended Complaint). Daniels’s sentiments were soon echoed by

other former members of the University of Iowa football program. Id. ¶ 4.

       In response to the outcry from these revelations, the University of Iowa retained a law firm

to investigate the athletes’ accusations. The law firm issued a public report in July 2020. [ECF

No. 22 at 36–63]. Shortly after the University of Iowa (“University”) issued the report, thirteen

former University of Iowa players (“Plaintiffs”) filed suit in state court. Plaintiffs name the

University, the Board of Regents of the State of Iowa (“Board”), Athletic Director Gary Barta,

head football coach Kirk Ferentz, assistant coach Brian Ferentz1, former assistant coach

Christopher Doyle, and assistant coach Raimond Braithwaite as Defendants. Plaintiffs allege

violations of Title VI of the Civil Rights Act of 1964 (“Title VI”), Deprivation of Rights under

42 U.S.C. § 1981 and § 1985, and breach of contract. [ECF No. 1-1]. Defendants removed the

case to this Court on December 1, 2020. [ECF No. 1]. Defendants moved to dismiss on

December 14, 2020. [ECF No. 10]. Plaintiff filed an Amended Complaint on January 13, 2021,

[ECF No. 15], and now Defendants renew their Motion to Dismiss, [ECF No. 16].

       Defendants argue that most of the named Plaintiffs are time-barred from asserting their

claims. The Plaintiffs who are not time-barred, Defendants assert, fail to plead sufficient facts to

satisfy the statutory elements required to maintain each claim. The parties requested oral argument

on the Motion but the Court finds that it can resolve the Motion without it. See LR 7(c) (“A motion

will be decided without oral argument unless the court orders otherwise. A request for oral



       1
        To avoid confusion, Kirk Ferentz and Brian Ferentz will be identified by their full name
when the Court discusses either Defendant individually.
                                              -2-
      Case 4:20-cv-00366-SMR-HCA Document 31 Filed 05/06/21 Page 3 of 21




argument . . . must be supported by a showing of good cause.”). For the reasons that follow,

Defendants’ Motion to Dismiss is GRANTED in part and DENIED in part.

                                        I. BACKGROUND

       The Amended Complaint brings eight claims against Defendants.2 Counts I through III

allege claims based on violations of Title VI: (1) racially hostile environment (Count I);

(2) retaliation (Count II); and (3) systemic pattern and practice of racial discrimination (Count III).

[ECF No. 15 ¶¶ 254–80]. Counts IV through VII are brought pursuant to § 1983: (4) racial

discrimination in contractual rights prohibited under § 1981 (Count IV); (5) conspiracy to deprive

persons of equal protection prohibited under § 1985 (Count V); (6) conspiracy to deprive persons

of equal protection prohibited under § 1985 as to Plaintiffs Mends, Simon, and Foy (Count VI);

and (7) failure to train and supervise pursuant to § 1983 against Defendants Kirk Ferentz and Gary

Barta (Count VII). [ECF No. 15 ¶¶ 281–346]. Count VIII alleges a breach of contract claim.

[ECF No. 15 ¶¶ 347–57].

       Defendants move to dismiss the Amended Complaint in its entirety. They argue each count

fails to plead sufficient facts to support plausible claims for each cause of action. Defendants

further argue that all but three Plaintiffs—Mends, Simon, and Foy—are time-barred from bringing

their claims because the statute of limitations for claims pursuant to Title VI, § 1981, and § 1983

is two years.

       Plaintiffs resist Defendants’ Motion to Dismiss. They concede the applicable statute of

limitations is two years for claims pursuant to Title VI and § 1983. However, they contend the



       2
         Because not all claims are asserted against each Defendant, the Court will specify which
claims are brought against each Defendant if it is relevant in the analysis. As noted, Defendants
argue that several of the claims are time-barred as to specific Plaintiffs. This will be noted as
necessary in the evaluation of the Motion to Dismiss.
                                               -3-
     Case 4:20-cv-00366-SMR-HCA Document 31 Filed 05/06/21 Page 4 of 21




correct limitations period for Count IV, brought pursuant to § 1981, is four years. Plaintiffs further

argue they have pleaded sufficient facts to state plausible claims for all their remaining claims.

The Court will evaluate each in turn.

                                           II. DISCUSSION

          In their Resistance to the Motion to Dismiss, Plaintiffs request the Court dismiss Counts V

and VI in their entirety. [ECF No. 22 at 7]. Plaintiffs also ask the Court to dismiss Barta as to all

counts.3 Id. They further request the dismissal of all individual Plaintiffs in Count VIII. Id.

Therefore, Count V and Count VI are DISMISSED WITHOUT PREJUDICE. Defendant Barta is

DISMISSED as a named defendant. Defendant Braithwaite4 is DISMISSED. Count VIII is

DISMISSED only as to Defendants Kirk Ferentz, Brian Ferentz, and Doyle. The Court will begin

its analysis with the statute of limitations issues and then proceed to the Motion to Dismiss on its

merits.

                                   A. Timeliness of Plaintiffs’ Claims

          Plaintiffs initially filed this suit in Iowa District Court for Polk County on

November 12, 2020. [ECF No. 1-1]. Defendants argue that any Plaintiff who left the University

of Iowa football program prior to November 12, 2018 is time-barred from maintaining a claim

pursuant to Title VI, § 1981, or § 1983. The Amended Complaint pleads that only Plaintiffs

Mends, Simon, and Foy participated as a member of the University of Iowa football program

during 2018 or later. [ECF No. 15 ¶¶ 18; 24; 25]. Plaintiffs respond to this argument by asserting

that under a federal catchall statute of limitations the applicable limitations period for their




          3
              Barta was named as a Defendant in Counts IV, VII, and VIII.
          4
              Defendant Braithwaite is only named as a Defendant in Count V.

                                                   -4-
     Case 4:20-cv-00366-SMR-HCA Document 31 Filed 05/06/21 Page 5 of 21




§ 1981 claims is actually four years, in which case Plaintiffs Wadley, Parker, Joly, and Cooper

may also maintain claims under § 1981.

       There is no express statute of limitations in § 1981.5 Jones v. R.R. Donnelley & Sons

Co., 541 U.S. 369, 371 (2004). The Supreme Court has held that when a federal statute does not

contain its own limitations period, courts should select “the most appropriate or analogous state

statute of limitations.” Goodman v. Lukens Steel Co., 482 U.S. 656, 660 (1987) (citing Wilson v.

Garcia, 471 U.S. 261, 266–68 (1985)). The Court has characterized both § 1981 and § 1983 as

personal injury statutes, so claims brought under either law are subject to the limitations period in

the forum state’s personal injury statute. Id. at 661–64.

       The United States Court of Appeals for the Eighth Circuit has held that Title VI claims are

personal injury actions as well, subject to the forum state’s limitations period. See Egerdahl v.

Hibbing Cmty. Coll., 72 F.3d 615, 617 (8th Cir. 1995). In Iowa, personal injury claims must be

brought within two years of their accrual. Iowa Code § 614.1(2).




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           42 U.S.C. § 1981 provides:

                a. All persons within the jurisdiction of the United States shall have
                the same right in every State and Territory to make and enforce
                contracts, to sue, be parties, give evidence, and to the full and equal
                benefit of all laws and proceedings for the security of persons and
                property as is enjoyed by white citizens, and shall be subject to like
                punishment, pains, penalties, taxes, licenses, and exactions of every
                kind, and to no other.

                b. For purposes of this section, the term “make and enforce
                contracts” includes the making, performance, modification, and
                termination of contracts, and the enjoyment of all benefits,
                privileges, terms, and conditions of the contractual relationship.
                                                 -5-
     Case 4:20-cv-00366-SMR-HCA Document 31 Filed 05/06/21 Page 6 of 21




                     1. Interaction between Section 1981 and Section 1658

       In 1990, Congress passed a “catchall” statute providing for an extended statute of limitation

period for subsequent federal laws that do not provide their own statute of limitations: “[A] civil

action arising under an Act of Congress enacted after the date of the enactment of this section may

not be commenced later than 4 years after the cause of action accrues.” 28 U.S.C. § 1658(a). Note

that § 1658 is prospective, not retroactive.      The Supreme Court has interpreted the scope

of § 1658—whether a claim “aris[es] under an Act of Congress”—to encompass causes of action

“made possible by a post-1990 enactment.” Jones, 541 U.S. at 382.

       Prior to 1991, § 1981 only addressed racial discrimination in the formation and

enforcement of contracts. Patterson v. McLean Credit Union, 491 U.S. 164, 176 (1989). This

included “the refusal to enter into a contract with someone, as well as the offer to make a contract

only on discriminatory terms.” Id. at 177. The Patterson Court held the prohibition against racial

discrimination under the pre-1991 amendments to § 1981 did “not extend, as a matter of either

logic or semantics, to conduct by the employer after the contract relation has been established,

including breach of the terms of the contract or imposition of discriminatory working conditions,”

but rather, “implicate[d] the performance of established contract obligations and the conditions of

continuing employment.” Id.

       Two years after Patterson, Congress amended § 1981 to include a new subsection which

defined “make and enforce contracts” as “termination of contracts, and the enjoyment of all

benefits, privileges, terms, and conditions of the contractual relationship.” Jones, 541 U.S. at 373.

(quoting 42 U.S.C. § 1981(b)).

       Defendants insist that the statute of limitations for Count IV is two years because § 1981 is

only enforceable against a state actor pursuant to § 1983. See Artis v. Francis Howell N. Band

                                                -6-
      Case 4:20-cv-00366-SMR-HCA Document 31 Filed 05/06/21 Page 7 of 21




Booster Ass’n, 161 F.3d 1178, 1181 (8th Cir. 1998) (“A federal action to enforce rights under

§ 1981 against a state actor may only be brought pursuant to § 1983.”); Wycoff v.

Menke, 773 F.2d 983, 984 (8th Cir. 1985) (“all [§ 1983] actions [are] governed by a two-year

statute of limitations”) (citing Iowa Code § 614.1(2)).

       The Court finds that the four-year limitations period in § 1658 is the proper limitations

period here because Plaintiffs’ claims are “made possible by a post-1990 enactment” of Congress.

In Count IV, Plaintiffs do not allege they were subjected to racial discrimination in the formation

of their contracts, they allege they were subjected to discriminatory “working conditions” as

student-athletes in the University of Iowa football program. These allegations fall squarely within

the ambit of § 1981 post-amendment, because such claims would not have been viable prior to the

amendment, given the Supreme Court’s interpretation in Patterson. To find that § 1658 is

inapplicable here would transform the Jones Court’s interpretation of “arising under” into “based

solely upon”—a narrow reading the Supreme Court rejected. Jones, 541 U.S. at 383. The Court’s

conclusion finds support in other courts that have considered the interaction between the three

statutes post-Jones. See Baker v. Birmingham Bd. of Educ., 531 F.3d 1336, 1338 (11th Cir. 2008)

(concluding a plaintiff’s claims “were ‘made possible by a post-1990 enactment’ and ‘therefore

[are] governed by § 1658’s 4-year statute of limitations” (citation omitted) (alteration in original));

Mveng-Whitted v. Virginia State Univ., 927 F. Supp. 2d 275, 279 (E.D. Va. 2013) (holding

a § 1981 claim based on post-contract formation conduct only actionable after 1991 amendments);

DeNigris v. New York City Health and Hosps. Corp., 861 F. Supp. 2d 185, 191–92 (S.D.

N.Y. 2012) (“[T]o the extent Plaintiffs § 1981 and § 1983 claims seek recovery for discriminatory

acts occurring in the course of her contractual relationship with Defendants, her cause of action

was authorized by the 1991 amendment and [§ 1658] will apply.”); Robinson v. City of Arkansas

                                                 -7-
      Case 4:20-cv-00366-SMR-HCA Document 31 Filed 05/06/21 Page 8 of 21




City, 896 F. Supp. 2d 1020, 1042 (D. Kan. 2012) (“[Plaintiff's] claims are based on post-formation

conduct, so they are subject to the four-year statute of limitations.”). Plaintiffs Wadley, Parker,

Joly, Cooper, Mends, Simon, and Foy are not time-barred from bringing claims under § 1981.

                                2. Timeliness of Remaining Claims

        Plaintiffs’ remaining claims are brought pursuant to Title VI, § 1983, and state contract

law. Title VI and § 1983, as noted, are subject to a two-year statute of limitations. Defendants

request the Court dismiss all Title VI and § 1983 claims by all Plaintiffs except Plaintiffs Mends,

Simon, and Foy. Plaintiffs agree that these claims are governed by a two-year statute of

limitations. [ECF No. 22 at 6]. Defendants do not ask for the Court to dismiss Count VIII on

statute of limitations grounds as the period for those claims are either five years or ten years. See

Iowa Code § 614.1(4), (5).

        Accordingly, none of the claims by Plaintiffs Mends, Simon, and Foy are time-barred.

Count IV is also not time-barred as to Wadley, Parker, Joly, and Cooper under the four-year

limitations of § 1658. Counts I, II, III, IV, and VII are DISMISSED as to Plaintiffs Fleming,

Spearman, Martin-Manley, Taylor, Andre Harris, and Terrence Harris.

                             B. Rule 12(b)(6) Failure to State a Claim

        Defendants move to dismiss all counts pursuant to Federal Rule of Civil

Procedure 12(b)(6), alleging that Plaintiffs fail to plead sufficient facts to support their claims.

Rule 12(b)(6) permits a motion to dismiss for “failure to state a claim upon which relief can be

granted.” Fed. R. Civ. P. 12(b)(6). A complaint must contain “a short and plain statement of the

claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). To meet this standard,

and thus survive a motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Braden v.

                                                  -8-
     Case 4:20-cv-00366-SMR-HCA Document 31 Filed 05/06/21 Page 9 of 21




Wal-Mart Stores, Inc., 588 F.3d 585, 594 (8th Cir. 2009) (quoting Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009)). A claim is plausible on its face “when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Iqbal, 556 U.S. at 678. Although the plausibility standard “is not akin to a

‘probability requirement,’” it demands “more than a sheer possibility that a defendant has acted

unlawfully.” Id. (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007)). “The facts

alleged in the complaint ‘must be enough to raise a right to relief above the speculative level.’”

Clemons v. Crawford, 585 F.3d 1119, 1124 (8th Cir. 2009) (quoting Drobnak v. Andersen

Corp., 561 F.3d 778, 783 (8th Cir. 2009)).

       “[T]he rules of procedure continue to allow notice pleading through ‘a short and plain

statement of the claim showing that the pleading is entitled to relief.’ ‘Specific facts are not

necessary; the statement need only “give the defendant fair notice of what the . . . claim is and the

grounds upon which it rests.”’” Johnson v. Precythe, 954 F.3d 1098, 1101 (8th Cir. 2020) (citation

omitted). “Whether [Plaintiffs] can prove the claim through admissible evidence . . . is a different

matter to be addressed at a later stage of the proceedings.” Id.

                                          1. Title VI generally

       Title VI of the Civil Rights Act of 1964 provides: “[n]o person in the United States shall,

on the ground of race, color, or national origin, be excluded from participation in, be denied the

benefits of, or be subjected to discrimination under any program or activity receiving Federal

financial assistance.” 42 U.S.C. § 2000d. Title VI provides for a private right of action for

damages and injunctive relief. Alexander v. Sandoval, 532 U.S. 275, 279 (2001); cf. Franklin v.

Gwinnett Cnty. Pub. Sch., 503 U.S. 60, 72 (1992) (“Congress did not intend to limit the remedies

available in a suit brought under Title IX.”).

                                                 -9-
     Case 4:20-cv-00366-SMR-HCA Document 31 Filed 05/06/21 Page 10 of 21




       Claims under Title VI are interpreted the same as Title IX.              Cannon v. Univ. of

Chicago, 441 U.S. 677, 696 (1979) (“The drafters of Title IX explicitly assumed that it would be

interpreted and applied as Title VI had been during the preceding eight years.”). Claims under

Title VI and Title IX are “parallel” except the former “prohibits race discrimination . . . and applies

in all programs receiving federal funds,” whereas the latter only addresses education programs.

Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274, 286 (1998). Title VII and § 1981 claims are

also analyzed the same as Title VI.6

       An institution receiving federal funds is not liable for money damages for discrimination

by their employees based on a theory of respondeat superior, rather, the institution must have

actual knowledge of the discrimination—not simply constructive notice. See id. at 285. Actual

knowledge of discrimination will be imputed to the institution only if the knowledge is possessed

by “an official who at a minimum has authority to address the alleged discrimination and to

institute corrective measures . . . [but] fails adequately to respond.” Id. at 290. An inadequate

response must rise to the level of deliberate indifference to the discrimination. Id.

                               a. Count I: Racially Hostile Environment

       Count I of the Amended Complaint alleges that “Plaintiffs experienced severe, pervasive,

and objectively offensive acts of racial discrimination . . . on account of their race.” [ECF

No. 15 ¶ 261]. They allege that during their participation in the University of Iowa football

program they were subjected to a hostile racial environment where coaches openly used racial

epithets and racially derogatory language, ridiculed them for their dress and hair styles, and

insulted their intelligence for their use of non-white vernacular. They allege this harassment was


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          An “inquiry into intentional discrimination is essentially the same for individual actions
brought under sections 1981 and 1983, and Title VII.” Lauderdale v. Texas Dep't of Crim. Just.,
Institutional Div., 512 F.3d 157, 166 (5th Cir. 2007).
                                                -10-
     Case 4:20-cv-00366-SMR-HCA Document 31 Filed 05/06/21 Page 11 of 21




racially motivated and occurred on a regular basis sufficient for it to be “severe, pervasive, and

objectively offensive.” Id. ¶ 263. Defendants respond that the Amended Complaint fails to plead

sufficient facts to support a hostile environment claim and point out that few allegations

specifically relate to Plaintiffs Mends, Simon, and Foy—the only Plaintiffs whose claims are not

time-barred. As such, Defendants move to dismiss Count I for failure to state a claim.

       A prima facie claim for a racially hostile environment under Title VI requires defendant be

deliberately indifferent to known acts of discrimination occurring under its control. See Shrum ex

rel. Kelly v. Kluck, 249 F.3d 773, 782 (8th Cir. 2001) (Title IX). “[T]he deliberate indifference

must, at a minimum, cause students to undergo harassment or make them liable or vulnerable to

it.” K.T. v. Culver-Stockton Coll., 865 F.3d 1054, 1059 (8th Cir. 2017) (quoting Davis v. Monroe

Cnty. Bd. of Educ., 526 U.S. 629, 644–45 (1999)). Discrimination under Title VI must be

motivated by race and be “so severe, pervasive, and objectively offensive, and that so undermines

and detracts from the victims’ educational experience, that the victim-students are effectively

denied equal access to an institution’s resources and opportunities.” Davis, 526 U.S. at 651; see

Wolfe v. Fayetteville, Ark. Sch. Dist., 648 F.3d 860, 864, 867 (8th Cir. 2011).

       To survive a motion to dismiss on a hostile racial environment claim, Plaintiffs must plead:

“(1) they belong to a protected group, (2) they were subjected to unwelcome racial harassment,

(3) the harassment was because of their race, and (4) the harassment was sufficiently severe or

pervasive so as to affect ‘a term, condition, or privilege’ of [their] [education].”       Ellis v.

Houston, 742 F.3d 307, 319 (8th Cir. 2014) (§ 1981 claim) (first alteration in original) (citation

omitted). The harassment must be subjectively perceived as severe and “a reasonable person

would find the environment hostile or abusive.” Id. (citation omitted).




                                               -11-
     Case 4:20-cv-00366-SMR-HCA Document 31 Filed 05/06/21 Page 12 of 21




       Defendants urge the Court to dismiss the claim for a racially hostile environment because

allegations specifically relating to Plaintiffs Mends, Simon, and Foy are sparse. Defendants assert

that the sole allegation specifically related to Plaintiff Mends is an incident where white players

were allowed to post a photograph to their social media profiles showing them holding firearms

but he was denied the opportunity to do the same. [ECF No. 15 ¶¶ 156–59]. Defendants downplay

allegations by Plaintiff Simon as limited only to Defendant Doyle which Defendants claim “do not

contain a plausible or explained nexus between the conduct and Plaintiff Simon’s race.”

[ECF No. 16-1 at 10]. The allegations include Doyle making remarks about Simon’s height and

intelligence and his “constant bull[ying] of [Simon] merely because [he] is African-American.”

[ECF No. 15 ¶ 221]. Defendants take issue with the lack of specificity of Plaintiff Foy’s claims

that Defendant Doyle “bullied” him because the allegations do not include “any sort of dates,

specificity in the ‘bullying,’ or degree of frequency to this allegation.” [ECF No. 16-1 at 11].

       Defendants understate the factual allegations in the Amended Complaint. The facts

advanced by Plaintiffs allege an atmosphere permeated by racial harassment. They allege that

Defendants Doyle and Brian Ferentz would regularly use racial epithets and other racially

discriminatory language.7    Plaintiffs allege the “African-American athletes were commonly

referred to as ‘stupid,’ ‘hood’ and ‘dumb’” and such comments were “made in open forums during

team meetings and at practice regularly, if not daily, in the presence of [Kirk] Ferentz, other

coaches, and teammates.” [ECF No. 15 ¶¶ 53, 54]. According to Plaintiffs, social media posts of

African-American players were “frequently displayed” where coaches would humiliate them “for



       7
         Paragraph 50 of the Amended Complaint lists comments including: “what gang is he in”;
“dumbass black player”; “you are not smart at all”; “stupid mother******”; “go back to the
ghetto.” The two coaches are alleged to have “commonly” used the word “n*****” (hereinafter
“the n-word”) [ECF No. 15 ¶ 50].
                                             -12-
     Case 4:20-cv-00366-SMR-HCA Document 31 Filed 05/06/21 Page 13 of 21




how ‘stupid’ they sounded for their use of non-White vernacular.” Id. ¶ 61. The Amended

Complaint alleges many of these incidents occurred in team-wide settings or even specifically

directed at time-barred Plaintiffs, but where “there is evidence that the offensive remarks became

known to all plaintiffs, their relevance to claims of a hostile work environment is clear.”

Ellis, 742 F.3d at 320–21 (citations omitted).

        Plaintiffs   further   allege   that   team    rules   prohibited    football   players   from

expressing their political views in a public forum but they were not applied consistently. They

allege African-American players were prohibited from kneeling during the National Anthem to

protest police brutality. Id. ¶ 63. In contrast, Plaintiffs allege that a group of their white teammates

were allowed to “personally deliver[] a custom-made Iowa football jersey to President Donald J.

Trump at a political rally.”8 Id. ¶ 65. Plaintiffs say this alleged violation of team rules was never

addressed by Kirk Ferentz or other coaches. Id. ¶ 67.

        The Amended Complaint also alleges that a group of athletes, designated as the

“Leadership Group,” were elected by their teammates “to act as a conduit for players to present

[Kirk] Ferentz with any grievances or complaints they had with the Program.” Id. ¶ 103. It alleges

the Leadership Group brought concerns about these allegations to the attention of Kirk Ferentz.

Id. ¶¶ 72; 162. Plaintiff Mends was one of the members of the Leadership Group. Id. ¶ 161.

Plaintiff Mends alleges that, as a result of Kirk Ferentz’s non-responsiveness to concerns about

the program’s “system and culture,” he left the program. Id. ¶ 163; 164.

        The Amended Complaint pleads sufficient facts to proceed. Plaintiffs Mends, Simon, and

Foy all belong to a protected group; they advance facts that they were subjected to racially


        8
         A picture is included in the Amended Complaint showing a group of white players
standing around President Trump as he holds a University of Iowa football jersey with “Trump”
emblazoned on the name plate of the jersey.
                                            -13-
     Case 4:20-cv-00366-SMR-HCA Document 31 Filed 05/06/21 Page 14 of 21




motivated harassment; and the harassment was severe or pervasive to affect “a term, condition, or

privilege” of their education. See Ellis, 742 F.3d at 319. Plaintiffs allege that Mends left the

program after Kirk Ferentz ignored his complaints, [ECF No. 15 ¶ 164]; they allege Simon

transferred from the school after his complaints to “athletic academic advising staff” went

unheeded, id. ¶ 222; and they allege Foy exited the program because he was concerned “he would

continue to be subjected to racially-motivated disparate treatment,” id. ¶ 229.

       The facts advanced by Plaintiffs describe harassment that is actionable under the law. The

alleged harassment is pervasive. It occurred, particularly the racial epithets and insults, on a

regular basis according to the Amended Complaint. [ECF No. 22 ¶¶ 49; 50; 54]. The allegations,

taken as true on a Motion to Dismiss, are very severe. The Amended Complaint describes

members of the coaching staff engaging in regular ridicule and discrimination of Plaintiffs and

other African-American athletes based on their race. The comments about players’ intelligence,

gang membership, and purported criminality are very severe—particularly coming from

individuals in positions of authority such as Defendants Doyle and Brian Ferentz. The alleged use

of the “n-word” needs little exposition from the Court regarding its severity. See Monteiro v.

Tempe Union High Sch. Dist., 158 F.3d 1022, 1034 (9th Cir. 1998) (referring to the word as “the

most noxious racial epithet in the contemporary American lexicon”).

       Defendants’ attempts to isolate specific incidents are unpersuasive. The inquiry into

whether an environment is objectively hostile “is shaped by the accumulation of abusive conduct,

and the resulting harm cannot be measured by carving it into a series of discrete incidents.”

Ellis, 742 F.3d at 319 (quoting Hathaway v. Runyon, 132 F.3d 1214, 1222 (8th Cir. 1997)). When

a plaintiff sets forth “[s]pecific examples cited as discriminatory and alleged to be part of a pattern

of hostile treatment,” courts are to view these as “‘examples of the offensive racial

                                                 -14-
     Case 4:20-cv-00366-SMR-HCA Document 31 Filed 05/06/21 Page 15 of 21




incidents’ . . . not as ‘an exhaustive litany of every offensive racial slur or incident’ which

occurred.” Id. (citation omitted). Furthermore, “racist attacks need not be directed at the

complainant in order to create a hostile educational environment.” Monteiro, 158 F.3d at 1033.

“[W]hen a pattern of discriminatory conduct is alleged, specific individual acts should be viewed

as illustrative rather than as isolated incidents.” Ellis, 742 F.3d at 320.

       It is also important to highlight the procedural posture of this case. It is before the Court

on a Motion to Dismiss. The allegations are sufficient to state a claim for a racially hostile

environment at this stage; to succeed at the merits stage, Plaintiffs will need additional factual

development to tie much of the racial harassment to the individual Plaintiffs. But the Court must

evaluate Defendants’ Motion to Dismiss by taking all of Plaintiffs’ allegations as true. Smithrud

v. City of St. Paul, 746 F.3d 391, 397 (8th Cir. 2014). The Court does not have any evidence before

it to evaluate—only the pleadings—and all reasonable inferences must be drawn in Plaintiffs’

favor. See Crooks v. Lynch, 557 F.3d 846, 848 (8th Cir. 2009). Plaintiffs’ Amended Complaint

states a claim for a racially hostile environment under Title VI. Accordingly, Defendants’ Motion

to Dismiss Count I is DENIED.

                                       b. Count II: Retaliation

       In Count II, the Amended Complaint alleges Plaintiff Mends was retaliated against for

“making complaints and/or supporting other teammates’ complaints” regarding Defendants’

racially discriminatory conduct. [ECF No. 15 ¶ 268]. No other Plaintiff is named in Count II. To

state a claim for retaliation, Plaintiff Mends must plead: (1) he engaged in protected conduct; (2) he

suffered an adverse action which a reasonable person would perceive as materially adverse; and

(3) the adverse action was causally linked to his protected conduct.                     Higgins v.




                                                 -15-
     Case 4:20-cv-00366-SMR-HCA Document 31 Filed 05/06/21 Page 16 of 21




Gonzales, 481 F.3d 578, 589 (8th Cir. 2007), abrogated on other grounds by Torgerson v. City of

Rochester, 643 F.3d 1031, 1043 (8th Cir. 2011) (en banc).

       Plaintiff Mends fails to state a claim for retaliation of Title VI protected conduct. The

Amended Complaint alleges that Plaintiff Mends complained to Kirk Ferentz about disparate

treatment between white players and African-American players but omits any materially adverse

action as a direct result of his protected conduct. Plaintiffs concede Count II “omitted a materially

adverse action,” but insists “that even the mere act of restricting coveted playing time would be

perceived as objectively offensive and injurious to a reasonable person.” [ECF No. 22 at 15]. The

Court agrees. However, there is no allegation such action was taken against Plaintiff Mends. The

conclusory statements of law and unspecified adverse actions are insufficient to state a claim for

retaliation. Defendants’ Motion to Dismiss Count II is GRANTED.

                  c. Count III: Systemic Pattern and Practice of Discrimination

       Count III alleges “Defendants created and maintained a systemic pattern and practice of

unlawful race discrimination.” [ECF No. 15 ¶ 276]. Plaintiffs allege the “pattern and practice of

intentional race discrimination is so pervasive so as to constitute” a policy of intentional race

discrimination. Id. ¶ 277. They contend the “pattern and practice of intentional discrimination is

backed by statistical disparities,” including racial imbalances in graduation rates, transfer rates,

and drug testing. Id. ¶ 278.

       Defendants ask the Court to dismiss Count III asserting that individual plaintiffs may only

bring Title VI claims for intentional discrimination. They also assert Plaintiffs do not plead

sufficiently detailed facts to support a “pattern and practice” of racial discrimination against

Plaintiffs Mends, Simon, and Foy. [ECF No. 16-1 at 14]. Plaintiffs resist dismissal claiming the

styling of their claim is “to emphasize the widespread nature of the discriminatory acts towards

                                                -16-
     Case 4:20-cv-00366-SMR-HCA Document 31 Filed 05/06/21 Page 17 of 21




African-American players, including Plaintiffs.” [ECF No. 22 at 15]. They contend that under

International Brotherhood of Teamsters v. United States, 431 U.S. 324 (1977), “statistics showing

racial or ethnic imbalance are probative . . . because such imbalance is often a telltale sign of

purposeful discrimination.” Id. at 339 n.20.

       Under Title VI, a private individual cannot bring a disparate impact claim.

Sandoval, 532 U.S. at 280 (observing it is “beyond dispute” that Title VI “prohibits only

intentional discrimination”). Plaintiffs acknowledge this but insist the statistical disparities they

advance support an intentional discrimination claim. However, case law is clear on this point—

proof of disparate impact—alone—is not sufficient to state a claim for intentional discrimination.

Mumid v. Abraham Lincoln High Sch., 618 F.3d 789, 794 (8th Cir. 2010). The cases Plaintiffs

rely upon for their “pattern and practice” claim—Int’l Brotherhood and Hazelwood Sch. Dist. v.

United States, 433 U.S. 299 (1977)—are distinguishable. Both cases were brought by the federal

government, not private litigants. See Int’l Brotherhood, 431 U.S. at 328; Hazelwood Sch.

Dist., 433 U.S. at 301. This Court is bound by the interpretation of Title VI by the Supreme Court

which has expressly held Title VI does not create a private cause of action for disparate impact

claims. Sandoval, 532 U.S. at 285. Defendants’ Motion to Dismiss Count III is GRANTED.

                         d. Count IV: Deprivation of Rights Under § 1981

       Plaintiffs allege in Count IV that Defendants’ conduct violated their rights under § 1981.

It provides, in pertinent part: “All persons . . . shall have the same right . . . to make and enforce

contracts . . . as is enjoyed by white citizens . . . .” 42 U.S.C. § 1981. The Court discussed, supra,

that Plaintiffs Mends, Simon, Foy, Wadley, Parker, Joly, and Cooper are all within the four-year

statute of limitations to a bring claim under § 1981. Defendants argue that Count IV merely recites

the elements of a § 1981 claim supported by “‘naked assertion[s]’ devoid of ‘further factual

                                                -17-
     Case 4:20-cv-00366-SMR-HCA Document 31 Filed 05/06/21 Page 18 of 21




enhancement.’” Iqbal, 556 U.S. at 678 (alteration in original) (citation omitted). They ask the

Court to dismiss Count IV for failure to state a claim.

       Plaintiffs must allege four elements to maintain a claim under § 1981: “(1) membership in

a protected class, (2) discriminatory intent on the part of the defendant, (3) engagement in a

protected activity, and (4) interference with that activity by the defendant.” Gregory v. Dillard's,

Inc., 565 F.3d 464, 469 (8th Cir. 2009). “While § 1981 prohibits racial discrimination in ‘all

phases and incidents’ of a contractual relationship, the statute ‘does not provide a general cause of

action for race discrimination.’” Id. at 468 (citations omitted). A claim brought pursuant to § 1981

“must initially identify an impaired ‘contractual relationship.’”         Domino's Pizza, Inc. v.

McDonald, 546 U.S. 470, 476 (2006).

       The contractual relationship which Plaintiffs rely upon for Count IV is the relationship

between the University of Iowa and Plaintiffs. The Supreme Court has held that “a contract for

educational services is a ‘contract’ for purposes of § 1981.”                 Gratz v. Bollinger,

539 U.S. 244, 276 n.23 (2003) (citing Runyon v. McCrary, 427 U.S. 160, 172 (1976)). This

includes college athletics. See Pryor v. Nat’l Collegiate Athletic Ass’n, 288 F.3d 548, 562

(3d Cir. 2002) (evaluating a § 1981 claim in the context of college athletics).

       Count IV names Kirk Ferentz, Brian Ferentz, and Doyle as Defendants. Plaintiffs assert

that the basis for § 1981 liability as to Brian Ferentz and Doyle was their direct participation in

racially harassing acts alleged by Plaintiffs. “A plaintiff may prove intentional race discrimination

using either direct or indirect (circumstantial) evidence.”            Putman v. Unity Health

Sys., 348 F.3d 732, 734 (8th Cir. 2003). The Court finds that, consistent with its conclusion for

Count I, the Amended Complaint states a claim for intentional discrimination. The Court will not

repeat the pleaded facts of racial harassment but given the allegations that Brian Ferentz and Doyle

                                                -18-
     Case 4:20-cv-00366-SMR-HCA Document 31 Filed 05/06/21 Page 19 of 21




regularly used verbal abuse and racial epithets, the Court finds the facts advanced are sufficient to

allow a reasonable inference that Brian Ferentz and Doyle intentionally discriminated against

Plaintiffs during the limitations period under § 1981.

       The Amended Complaint, however, does not allege any intentional discriminatory act by

Kirk Ferentz. Plaintiffs urge that the allegations that Kirk Ferentz was aware of the harassing and

discriminatory language used by Brian Ferentz and Doyle is sufficient to establish his deliberate

indifference.      They further argue that “his own racially suspect comments and selective

enforcement of team rules is sufficient to overcome dismissal.” [ECF No. 22 at 18]. However, a

claim under § 1981 requires Plaintiffs to plead “discriminatory intent.” Dillard’s, 565 F.3d at 469.

Deliberate indifference is not enough. Defendants’ Motion to Dismiss Count IV as to Brian

Ferentz and Doyle is DENIED. Count IV is DISMISSED as to Kirk Ferentz.

                             e. Count VII: Failure to Train or Supervise

       Plaintiffs bring Count VII pursuant to § 1983, alleging Kirk Ferentz failed to train and

supervise his coaching staff, leading to “pervasive discriminatory behavior against African

American players” and Plaintiffs. [ECF No. 15 ¶ 341]. Liability under § 1983 does not lie against

a supervisor on a respondeat superior theory. City of Canton v. Harris, 489 U.S. 378, 385 (1989).

Rather, Plaintiffs must prove a supervisor failed to supervise and train a subordinate to be held

liable under § 1983. This requires Plaintiffs demonstrate Kirk Ferentz: (1) had notice of a pattern

of unconstitutional acts committed by subordinates; (2) demonstrate deliberate indifference to or

tacit authorization of those acts; (3) fail to take sufficient remedial actions; and (4) failure to

remediate caused injury to Plaintiffs. Wilson v. City of North Little Rock, 801 F.2d 316, 322

(8th Cir. 1986).




                                                -19-
     Case 4:20-cv-00366-SMR-HCA Document 31 Filed 05/06/21 Page 20 of 21




       Fatal to Plaintiffs’ claim is Count VII does not allege any specific constitutional violation,

much less that Kirk Ferentz had notice of such violation and failed to respond. Plaintiffs essentially

acknowledge this flaw in their Resistance to Defendants’ Motion but urge the Court to consider

Count VII as a § 1983 claim under the Equal Protection Clause of the Fourteenth Amendment.

The Court cannot do so. The Court’s analysis is limited to the pleadings, and Plaintiffs have failed

to state a claim for liability on the part of Kirk Ferentz under § 1983 for failure to train and

supervise. Accordingly, Defendants’ Motion to Dismiss Count VII is GRANTED.

                                  f. Count VIII: Breach of Contract

       The final claim in the Amended Complaint is a state law claim for breach of contract. The

remaining Defendants under Count VIII are the University and the Board.9 Plaintiffs allege in

Count VIII that they performed their obligations under the contracts “including presenting their

complaints and grievances to the coaching staff.” [ECF No. 15 ¶ 354]. They allege Defendants

breached their contract by “failing to expel the systemic plague of racial discrimination and

disparate treatment occurring within the Program.” Id. ¶ 355. They further allege that they have

incurred damages because of the breach.

       Defendants move to dismiss. They argue that the Amended Complaint fails to mention

any contractual documents, much less any of its terms. Plaintiffs’ Resistance directs the Court to

the University’s Operations Manual as the source of their contract claim. Defendants respond this

argument is foreclosed by the Iowa Supreme Court’s decision in Petro v. Palmer Coll. of

Chiropractic, 945 N.W.2d 763, 780 (Iowa 2020) (holding a college’s “general statements of

nondiscrimination” in application and equal opportunity policy did not form a contract).




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           Defendants did not move for dismissal of any Plaintiffs on statute of limitations grounds.
                                               -20-
     Case 4:20-cv-00366-SMR-HCA Document 31 Filed 05/06/21 Page 21 of 21




       The Court finds there is no enforceable contract here. Plaintiffs fail to plead any contract

in the Amended Complaint. Even under their theory that the University’s Operations Manual

provides a binding contract between the parties, they fail to follow Petro’s dicta—that if a school’s

“student handbook amounts to a binding contract . . . at most [the University’s] contractual

commitment in the area of nondiscrimination was to follow the identified processes and procedures

for addressing discrimination complaints.” Id. at 780. Plaintiffs concede they failed to do this but

assert “the Court may infer that the ‘processes and procedures for addressing discrimination

complaints’ were wholly unavailable to Plaintiffs” because of their fear of retaliation due to

previous discrimination and threats.” [ECF No. 22 at 21]. The Court will decline Plaintiffs’

invitation to a novel reading of state contract law, especially when such pleading is absent from

the Amended Complaint. Defendants’ Motion to Dismiss Count VIII is GRANTED.

                                        III. CONCLUSION

       Plaintiffs’ Amended Complaint states a claim for a racially hostile environment under

Count I. Plaintiffs Mends, Simon, and Foy may maintain claims under Count I. The Amended

Complaint also states a claim in Count IV for a violation under § 1981 as to only Defendants Brian

Ferentz and Christopher Doyle. Plaintiffs Wadley, Parker, Joly, Cooper, Mends, Simon, and Foy

may maintain claims under Count IV. The remaining claims and Plaintiffs are DISMISSED.

Defendants’ first Motion to Dismiss, [ECF No. 10], is DENIED as moot.

       IT IS SO ORDERED.

       Dated this 6th day of May, 2021.

                                                       _______________________________
                                                       STEPHANIE M. ROSE, JUDGE
                                                       UNITED STATES DISTRICT COURT




                                                -21-
